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'512d 0100.011001100 012/111 003 1000
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'10010 00120 01015 010300110[01
11001 00 1012110 12 1011 0012 050012 00001110 312 53011010 0200110010 010/100 1011110

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'11111,[ 110 33100110

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